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EE TN UPN Le LAS: tC

Participant

Entity Login Email
19084471819@s.whatsapp.net Rodney
S-W S.whatsapp 19084471819@s.whatsapp.net 19084471819@s.whatsapp.net 18 0
972504446020@s.whatsapp.net Roni
Pavon S.whatsapp 972504446020@s.whatsapp.net 972504446020@s.whatsapp.net 33 0
System Message System Message System Message 0 0

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 02:45:59.000 PM

Adrian is working on a list of “long-pole” / “critical path” items that if we don’t start working on them now, will delay our
IPO

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 02:46:52.000 PM

What IPO? Celsius or mining?

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 02:47:49.000 PM

Mining SPAC, but while doing that, things are becoming obvious regarding the [PO

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 02:48:42,000 PM

BTW - who made the decision of opening this position? Who interviewed him?

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 02:49:08.000 PM

We don’t need him to prepare a list of that. We have a list, we have Latham and we have citi on that

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 02:49:34,000 PM

He can be the PM for that, but we don’t need his guidance and don’t have time for that. We’re already meeting investors

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 02:50:09.000 PM

Alex made the decision to go ahead. Yaron and I screened candidates before Alex interviewed him and made the decision.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 02:50:29.000 PM

Alex raised the idea of opening this position?

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 02:50:36.000 PM

I raised it

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 04:01:57.000 PM

FOIA CONFIDENTIAL TREATMENT REQUESTED BY CELSIUS CELSIUSNETWORK_03212293
Roni - I’m not sugejéxop are distepiag FoaKiNteHaL Marys ies is "eRe Es page 2 of 5

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 04:02:10.000 PM
I think Compliance must send out an email to all employees that they must not transact in CEL prior to the public
announcement.

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 04:10:39.000 PM
During the call I spoke up and said that nobody should act on the information that has been provided, but I think it should
be in writing from Compliance to protect the firm.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 04:31:37.000 PM
What did he say?

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 04:32:11.000 PM
And if it’s about the deal, there may not be public announcement

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 04:32:15.000 PM
Still working on it

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:40:21.000 PM
He talked about the deal, the SPAC and the value of CEL vs the value of other coins

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:47:03.000 PM
I told him endless times not to do that

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:47:22.000 PM
And not to share the issue with SEC with anyone

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:47:57.000 PM
He refuses to listen and insists on putting the company at risk, plus the individual risk on himself

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:48:16.000 PM
I really can’t do more than I’ve done

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:48:25.000 PM
And I’m sure the deal was presented in a misleading way

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:48:38.000 PM
As it’s not round b and I’m sure he said it’s round b

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:48:48.000 PM
It’s simply a loan at this point

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Case 1:23-cr-00347-JGK Document145-78 Filed 04/29/25 Page3of5
19084471819@s.whatsapp.net Rodney S-W

2021-09-16 05:50:54.000 PM
I think in the short term we should send out a generic email that no employee should transact in CEL until we have given
the “all-clear’.

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:50:59.000 PM
In the future we should create “trading windows” each quarter where employees can only transact in CEL for say 30 days
after earnings are announced. And when the window closes they can’t transact.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:51:44.000 PM
What would this ‘all clear’ be?

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:51:52.000 PM
What about employees that were not on the line?

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:52:15.000 PM
Why would they be prevented from exercising their rights because of a CEO that says more than he had to?

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:52:59.000 PM
It’s not ideal but at least we would have evidence that we instructed employees not to trade

972504446020@s.whatsapp.net Roni Pavon

2021-09-16 05:53:04.000 PM
All employees from Israel were not on the line because of the holiday (that obviously no one cares about, even though
they’re 25 percent of the company)

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:53:16.000 PM
At what right? He’s the one who exposed them

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:53:27.000 PM
And the ‘all clear’ may take months

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:53:32.000 PM
Especially if they don’t convert

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:53:42.000 PM
Uggh.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:54:11.000 PM
If 1’m an employee, I’m trading and saying the liability was with my CEO who shared with me information I didn’t ask for

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:54:20.000 PM
So this email will do nothing

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Case 1:23-cr-00347-JGK Document 145-78 Filed 04/29/25 Page4of5
972504446020@s.whatsapp.net Roni Pavon

2021-09-16 05:54:27.000 PM
And he’ll not allow you to send it out

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:56:19.000 PM
You would know way better than I do what the law is. If at some point CEL is deemed a security, then anyone trading on it
would be at risk. I think even sharing information (and not trading on it) creates personal liability.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:56:47.000 PM
The CEL is a security, 100% security

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:57:13.000 PM
And yes, Alex bears personal liability on what he says, internally and externally (including the ‘mega deals’)

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:57:22,000 PM
And he also exposes the company

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:57:29.000 PM
Based on my reading of Howey, that’s my layman’s interpretation.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:58:00.000 PM
I’m telling you, it’s a security

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 05:58:17.000 PM
No disagreement here.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 05:58:42.000 PM
Leave Howey. The things he says and does externally make it a security

19084471819@s.whatsapp.net Rodney S-W
2021-09-16 06:00:28.000 PM
Oh. What someone says can “tip the scales” and make something a security. Fascinating.

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 06:05:44,000 PM
Absolutely

972504446020@s.whatsapp.net Roni Pavon
2021-09-16 06:05:57.000 PM
That’s exactly the difference between blockfi’s enforcement and ours

19084471819@s.whatsapp.net Rodney S-W

2021-09-16 06:06:26.000 PM
Oh!

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972504446020@s avhatsapp.pet Ren PAN8k Document 145-78 Filed 04/29/25 Page 5of5
5021-09-16 06:23:57.000 PM

They addressed this as an investment
19084471819@s.whatsapp.net Rodney S-W

2021-09-16 07:01:16.000 PM
Aha.

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